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   9
                           UNITED STATES DISTRICT COURT
  10
                          CENTRAL DISTRICT OF CALIFORNIA
  11
  12
       FLETCHER DOZIER, JR., individually
  13   and on behalf of all others similarly CASE NO. 2:20-cv-05286-AB-PVC
       situated,
  14                                         Hon. André Birotte Jr.
  15        Plaintiffs,                          PLAINTIFF’S NOTICE OF MOTION
  16                                             AND UNOPPOSED MOTION FOR
                  vs.                            ADDITIONAL PAGES
  17
  18   WALMART INC., a Delaware                  Amended Complaint Filed: September 25,
       corporation, formerly known as Wal-       2020
  19   Mart Stores, Inc.,
                                                 Current Response Date: December 16,
  20                                             2020
           Defendant.
  21
  22
  23
  24
  25
  26
  27
  28   __________________________________________________________________
              NOTICE OF MOTION AND UNOPPOSED MOTION FOR
                              ADDITIONAL PAGES
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   1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2
             PLEASE TAKE NOTICE that Plaintiff Fletcher Dozier, Jr. (“Plaintiff”), by
   3
       and through undersigned counsel of record, will move for an order granting him ten
   4
   5   (10) additional pages with which to respond to Defendant Walmart’s Motion to
   6
       Dismiss (“Motion”) (Dkt. No. 56). Plaintiff has conferred with Walmart and
   7
       confirmed that Walmart does not intend to oppose this Motion. (Shelquist Decl.
   8
   9   ¶ 2.) No oral argument is requested as Plaintiff is requesting a ruling on the papers.
  10
             Plaintiff filed his Complaint on June 12, 2020 and his Amended Complaint
  11
       on September 25, 2020. (Dkt. Nos.: 1 and 55). (Shelquist Decl. ¶ 2.)
  12
  13         Plaintiff’s opposition to Walmart’s Motion to Dismiss (Dkt. No. 56) is due
  14
       on December 16, 2020. Plaintiff respectfully requests that the Court permit him a
  15
  16   page extension of up to ten additional pages, so as to give Plaintiff a total of 35 total

  17   pages to respond to the Motion. (Shelquist Decl. ¶ 3.)
  18
             Good cause exists for the extension so that Plaintiff may address and
  19
  20   adequately respond to the Motion’s substantive standing arguments related to

  21   compliance with 49 C.F.R. § 574.8 along with tort, warranty, and statutory defenses.
  22
       Many of the standing arguments are of first impression in this District and Circuit
  23
  24   on the tire registration regulations. Walmart’s standing arguments also rely on out-

  25   of-circuit federal district court decisions from Pennsylvania which has resulted in a
  26
       recent appellate court decision which needs to be addressed. Additionally, one of
  27
                                                 -2-
  28
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   1   Walmart’s arguments involves the interpretation of a relatively new decision by the
   2
       Ninth Circuit involving election-of-remedies issues (Sonner v. Premier Nutrition
   3
       Corp., 971 F. 3d. 834, 842 (9th Cir. 2020)), which requires sufficient space to provide
   4
   5   the Court with a thorough analysis of this important issue. (Shelquist Decl. ¶ 4).
   6
             Plaintiff has not previously requested additional pages. (Shelquist Decl. ¶ 4).
   7
             Pursuant to Local Rule 7.3, between December 3 and December 8, 2020,
   8
   9   counsel for Plaintiff and Walmart conferred about this motion and page extension.
  10
       (Shelquist Decl. ¶ 5.)
  11
  12   Dated: December 8, 2020                LOCKRIDGE GRINDAL NAUEN P.L.L.P.
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                                              REBECCA A. PETERSON (241858)
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